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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

OLIVE JAMES TYLER §
Plaintiff, §
§

VS. § CIVIL ACTION NO.

§ Jury Demanded

NEURORESTORATIVE MENTIS §
REHABILITATION, §
Defendant. §

PLAINTIFF, OLIVE JAMES TYLER'S, ORIGINAL COMPLAINT
AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES Olive James Tyler, hereinafter called Plaintiff, complaining of and about
Neurorestorative Mentis Rehabilitation, hereinafter called Defendant, and for cause of action
shows unto the Court the following:

PARTIES AND SERVICE

1. Plaintiff Olive James Tyler, an African-American female who is at least 40-years
old, is a citizen of the United States and the State of Texas and resides in Fort Bend, Texas. At
all times relevant to this suit, until her termination in August 6, 2020, Plaintiff was employed
with Neurorestorative Mentis Rehabilitation.

2. Defendant Neurorestorative Mentis Rehabilitation is a partner in The Mentis
Network, a Delaware Corporation, duly authorized to operate under the laws of the State of Texas,
and service of process on the Defendant may be effected pursuant to sections 5.201 and 5.255 of
the Texas Business Organizations Code, by serving its Director, John W. Wood II, at 9551 Fannin
Street, Houston, Texas 77045. Service of said Defendant as described above can be effected by

personal delivery.

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JURISDICTION
3. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343(a) and 28 U.S.C.
§ 1337. This is a suit in equity and at law authorized and instituted pursuant to 42 U.S.C. § 1981
and §1981a and it seeks declaratory relief pursuant to 28 U.S.C. §§ 2201, 2202.
4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 and 124(a)(1)
in that the unlawful employment practices alleged below were and are being committed within the
State of Texas and the Southern District of Texas and defendant maintains records and other

evidence relevant to this case in the Southern District of Texas.
NATURE OF ACTION

5. This is an action under Title VI of the Civil Rights Act of 1964, as codified, 42
U.S.C. SECTION 2000e et seq. as amended by the Civil Rights Act of 1991 to correct unlawful
employment practices on the basis of race, color and national origin, the Age Discrimination in
Employment Act of 1967, 29 U.S.C. Section 621 et. seq., as amended by the Civil Rights Act of
1991 to correct unlawful employment practices on the basis of age; and the Fair Labor Standards
Act, 29 U.S.C. Section 201 et seq. as amended.

CONDITIONS PRECEDENT

6. All conditions precedent to jurisdiction have occurred or been complied with: a
charge of discrimination was filed with the Equal Employment Opportunity Commission within
three-hundred days of the acts complained of herein and Plaintiff's Complaint is filed within ninety
days of Plaintiff's receipt of the Equal Employment Opportunity Commission's issuance of a right

to sue letter,

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FACTS

7. Plaintiff Olive James Tyler began her employment with Defendant on or about
August 7, 2016 as a Life Skills Trainer (LST) at Defendant’s rehabilitation care facility located at
9551 Fannin Street, Houston, Texas. Plaintiff is a 59-year-old black woman of Dominican
Republic national heritage.

8. For nearly three years, Plaintiff worked successfully under a succession of nurse
supervisors and a facility director. During this time, Plaintiff enjoyed positive working
relationships with her supervisors, co-workers, and her patients, who often requested her
specifically as their caregiver. The facility Director, Mr. John Wood, a native-born white male
personally complemented Plaintiff that she was one of his best workers.

9. In mid-2019, Defendant, via Director Wood, installed Debra Eliff as nurse
supervisor. Ms. Eliffis a native-born white female.

10. Although the nurse supervisor position had previously been reserved for a
Registered Nurse (RN), Ms. Eliff, who was underqualified at the lower level of Licensed
Vocational Nurse (LVN) was given the position. A black female RN had recently been denied the
position and left Defendant company as a result.

11. Soon after Ms. Eliff’s earliest interactions with Plaintiff, including an exchanges in
which Ms. Eliff asked Plaintiff's age and another during which they had an exchange regarding
their opposite religious beliefs, Ms. Eliff began a campaign of harassment and pressure against
Plaintiff designed to make Plaintiff's work experience at the facility as harsh as possible.

12. Ms. Eliff’s tactics included assigning Plaintiff the heaviest patient care assignments
relative to her peers, changing Plaintiff's assignments without notice, changing Plaintiff's work

schedule to include more undesirable night and weekend shifts.

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13. Ms. Eliff accused Plaintiff of excessive tardiness and reported Plaintiff to Director
Wood and his boss. A review of Defendant’s fingerprint and passcode electronic access system
conducted by Director Wood and his boss revealed the allegation to be false. Director Wood’s
boss gave Plaintiff a personal apology.

14. Ms. Eliff then engaged in a campaign of excessive scrutiny, monitoring, and
criticism of Plaintiff in an attempt to build a case for Plaintiff's discipline and eventual termination.
Ms. Eliff made attempts to surreptitiously follow and sneak up on Plaintiff in hopes of catching
Plaintiff not working. Ms. Eliff told co-workers of Plaintiff to watch and follow Plaintiff and to
report to her any negative information. Ms. Eliff asked that they take photos if possible.

15. On multiple occasions, Ms. Eliff would scream in Plaintiff's face to express
dissatisfaction with some aspect of Plaintiff's work.

16. Plaintiff complained to Director Wood, and to several people in Human Resources,
including Ms. Gretchen Adelmund, about the hostile work environment imposed upon her by her
supervisor Eliff.

17. After being told of the complaints, Ms. Eliff's behavior did not improve. Instead
Eliff retaliated against Plaintiff by relegating Plaintiff to the nightshift and assigning Plaintiff the
facility’s most menial tasks such as washing laundry, cleaning, mopping, and garbage removal.

18. After a full year of humiliation and oppression led by Ms. Eliff, Defendant, via Ms.
Eliff and Director Wood, terminated Plaintiff on or about August 6, 2020. Defendant, through Ms.
Eliff and Director. Wood, alleges that Defendant terminated Plaintiff for falling asleep during the
nightshift. Plaintiff denies the allegation and video evidence in the possession of Defendant
contradicts the allegation. Further, even if such an allegation were true, such a minor incident
would not justify termination but for Defendant’s unlawful and discriminatory effort to remove

Plaintiff. Defendant’s allegation is false and pretextual.

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19. Multiple incidents evince that the animus and harsh treatment directed toward
Plaintiff, Defendant's failure to correct it, and Plaintiffs eventual termination was due to her race,
national origin, and age.

20. Ms. Eliff was witnessed by employees making the statement that there were “too
many blacks” at the facility and that she “needed to get rid of some.”

21. While Ms. Eliff frequently screamed and yelled at black and Hispanic employees
under her supervision, the white employees were typically spared that humiliation.

22. _+Ms. Eliff was observed by employees of Defendant to be much more attentive to
the needs and requests of the white patients than to the black patients.

23. In response to one of Plaintiff's complaints, a male employee in Human Resources
told Plaintiff that her mistreatment by Eliff was probably due to Plaintiff's strong foreign accent.

24. Employees of Defendant observed that Ms. Eliff would “DNR” (“Do Not Request”)
techs and nurses of African descent from the nursing agencies.

25. Ms. Eliff inquired about Plaintiff's age shortly after arriving in the supervisor
position. Plaintiff was in her upper fifties and was considerably older than the majority of her
peers. Ms. Eliff and Defendant sought to force out Plaintiff and replace her with a younger, less
experienced employee who would be less knowledgeable about proper procedures and employee

rights and therefore would be more easily dominated.

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RACE, COLOR AND NATIONAL ORIGIN DISCRIMINATION

26. Defendant, Neurorestorative Mentis Rehabilitation, intentionally engaged in
unlawful employment practices involving Plaintiff because of her race, color and national origin.

27, Defendant, Neurorestorative Mentis Rehabilitation, discriminated against Plaintiff
in connection with the compensation, terms, conditions and privileges of employment or limited,
segregated or classified Plaintiff in a manner that would deprive or tend to deprive her of any
employment opportunity or adversely affect her status because of Plaintiff's race, color and
national origin in violation of 42 U.S.C. Section 2000e-(2)(a).

28. Defendant, Neurorestorative Mentis Rehabilitation, classified Plaintiff in a manner
that deprived her of an equal employment opportunity that was provided to employees similarly
situated in violation of 42 U.S.C. Section 2000e-(2)(a).

29. Plaintiff alleges that Defendant, Neurorestorative Mentis Rehabilitation,
discriminated against Plaintiff on the basis of race, color and national origin with malice or with
reckless indifference to the state-protected rights of Plaintiff.

AGE DISCRIMINATION

30. Defendant, Neurorestorative Mentis Rehabilitation, intentionally engaged in
unlawful employment practices involving Plaintiff because of her age. At all material times
Plaintiff was 40 years of age or older.

31. Defendant, Neurorestorative Mentis Rehabilitation, discriminated against Plaintiff
in connection with the compensation, terms, conditions and privileges of employment or limited,
segregated or classified Plaintiff in a manner that would deprive or tend to deprive her of any
employment opportunity or adversely affect her status because of Plaintiff's age in violation of the

Age Discrimination in Employment Act.

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32; Plaintiff alleges that Defendant, Neurorestorative Mentis Rehabilitation,
willfully violated the protected rights of Plaintiff because of her age.

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
BY NEURORESTORATIVE MENTIS REHABILITATION

33. Defendant Neurorestorative Mentis Rehabilitation intentionally or recklessly
caused Plaintiff severe emotional distress by screaming at Plaintiff, manipulating Plaintiff's work
schedule and duties to maximize discomfort, making false allegations against Plaintiff, enlisting
Plaintiff's co-workers to monitor and spy upon Plaintiff, causing Plaintiff to fear the loss of her
livelihood, and causing the unfair termination of Plaintiff. Defendant's conduct was extreme and
outrageous and proximately caused Plaintiff severe emotional distress. Plaintiff suffered damages
for which Plaintiff herein sues.

NEGLIGENT HIRING, SUPERVISION AND TRAINING
BY NEURORESTORATIVE MENTIS REHABILITATION

34. ‘Plaintiff alleges that the conduct of Defendant Neurorestorative Mentis
Rehabilitation constituted negligent hiring, supervision and training. Plaintiff alleges that
Defendant Neurorestorative Mentis Rehabilitation did not properly screen, evaluate, investigate,
or take any reasonable steps to determine whether Debra Eliff was unfit, incompetent, or a danger
to third parties. Defendant Neurorestorative Mentis Rehabilitation knew or should have known
that Debra Eliff was unfit and could foresee that Debra Eliff would come in contact with Plaintiff,
creating a risk of danger to Plaintiff. Defendant Neurorestorative Mentis Rehabilitation's failure
to exercise reasonable care in the hiring, supervision and training of Debra Eliff was the proximate
cause of damages to Plaintiff for which Plaintiff hereby sues.

RETALIATION BY NEURORESTORATIVE MENTIS REHABILITATION

35. Defendant Neurorestorative Mentis Rehabilitation instituted a campaign of

retaliation which included taking away Plaintiff's weekend off days, relegating Plaintiff to night

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shifts, assigning Plaintiff the heaviest patient care assignments relative to her peers, assigning
Plaintiff to the most menial jobs, including mopping, cleaning, washing laundry, and garbage
detail. Defendant, via Ms. Eliff, also ordered Plaintiff's coworkers to follow, watch, and even
attempt to take pictures of any actions by Plaintiff that could be used against her for discipline and
termination. This retaliation was and is due to Plaintiff exercising her rights by opposing a
discriminatory practice and making a charge. Plaintiff suffered damages for which Plaintiff herein
sues.
FLSA RETALIATION BY NEURORESTORATIVE MENTIS REHABILITATION
36. In addition, Defendant Neurorestorative Mentis Rehabilitation unlawfully
retaliated against Plaintiff after Plaintiff filed a complaint with Defendant’s Human Resources
department regarding late payment of earned overtime compensation and bonuses. Defendant’s
retaliatory acts included reduction of Plaintiff's work hours and termination of Plaintiff's
employment. Plaintiff's insistence that she be timely paid and her exercising her right to initiate a
complaint via Defendant’s internal channels was a direct cause for the retaliatory and adverse

actions taken against her. Plaintiff suffered damages for which Plaintiff herein sues.

DAMAGES
37. Plaintiff sustained the following damages as a result of the actions and/or omissions
of Defendant described hereinabove:
a. All reasonable and necessary Attorney's fees incurred by or on behalf of
Plaintiff,
b. Back pay from the date that Plaintiff was denied equal pay for equal work

and interest on the back pay in an amount to compensate Plaintiff as the
Court deems equitable and just;

c. All reasonable and necessary costs incurred in pursuit of this suit;

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d. Emotional pain;
¢: Expert fees as the Court deems appropniate;
f. Front pay in an amount the Court deems equitable and just to make Plaintiff
whole;
g. Inconvenience;
h. Prejudgment interest;
i. Loss of enjoyment of life;
i Mental anguish in the past;
k. Mental anguish in the future; and
I. Loss of benefits.
EXEMPLARY DAMAGES

38. Plaintiff would further show that the acts and omissions of Defendant complained
of herein were committed with malice or reckless indifference to the protected rights of the
Plaintiff. In order to punish said Defendant for engaging in unlawful business practices and to
deter such actions and/or omissions in the future, Plaintiff also seeks recovery from Defendant for
exemplary damages.

LIQUIDATED DAMAGES

39. Plaintiff would further show that the acts and omissions of Defendant complained
of herein were committed willfully. In order to punish said Defendant for engaging in unlawful
business practices and to deter such actions and/or omissions in the future, Plaintiff also seeks
recovery from Defendant for liquidated damages.

PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff, Olive James Tyler, respectfully

prays that the Defendant be cited to appear and answer herein, and that upon a final hearing of the

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cause, judgment be entered for the Plaintiff against Defendant for damages in an amount within
the jurisdictional limits of the Court, exemplary damages, liquidated damages, together with
interest as allowed by law; costs of court; and such other and further relief to which the Plaintiff
may be entitled at law or in equity.

Respectfully submitted,

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PLAINTIFF HEREBY DEMANDS TRIAL BY JURY

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